

People v Hampton (2023 NY Slip Op 05231)





People v Hampton


2023 NY Slip Op 05231


Decided on October 17, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 17, 2023

Before: Webber, J.P., Oing, Gesmer, Rodriguez, Rosado, JJ. 


Ind. No. 1426/19 Appeal No. 801 Case No. 2022-00888 

[*1]The People of the State of New York, Respondent,
vJermaine Hampton, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Simon Greenberg of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Molly Morgan of counsel), for respondent.



Order, Supreme Court, New York County (Althea Drysdale, J.), entered on or about February 16, 2002, which adjudicated defendant a level three sex offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion in applying the presumptive override for prior felony sex crime convictions and in declining to grant a downward departure from defendant's level three adjudication (see People v Judd, 29 AD3d 431 [2006], lv denied 7 NY3d 709 [2006]). Defendant not only had three prior sex crime convictions, but committed the underlying offense while he was on parole supervision for one of those prior sex offenses. Thus, defendant has shown a high risk of recidivism, and has not set forth any mitigating factors that would warrant a downward departure (see People v Corian, 77 AD3d 590, 590 [1st Dept 2010], lv denied 16 NY3d 705 [2011]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 17, 2023








